                                   CASE 0:22-cr-00076-KMM-TNL Doc. 33 Filed 06/23/22 Page 1 of 1
                                                     o
 AO 442 (Rcv. I l/l       l)   Arrest Warrant




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                                                                            for the

                                                                    District of Minnesota


                          United States of America
                                           v.
                   Shevirio Kavirion Childs-Young         (l)                         Case No. CR22-76   KMI\4/TNL
                                                                                                                                 H
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                                                                                                                                        >c.
                                                                                                RHEHruEB                         T\)
                                                                                                                                        4'uln
                                                                                                                                        lf="m
                                                                                                                                 \',
                                       Defendant                                                         JUN   2 32022                  E'aF
                                                                                                                                 F
                                                                  ARREST WARRANT                OLERK, U.S. DISTRICT          COIffiT
                                                                                                                                        #'#*
 To:         Any authorized law enforcement officer                                                                              (:)

             YOU ARE COMMANDED to arrest and bring before                      a United States magistrate judge   without unnecessary delay
 (name of person to be          arrested) Shevirio Kavirion     Childs-Young                                                                    ,
 who is accused of an offense or violation based on the following document filed with the court:

  /    Indictment                        Superseding Indictment         Information         Superseding Information            Complaint

       Probation Violation Petition                     Supervised Release Violation Petition        Violation Notice          Order of the Court

                                                                                                     Pretrial Release Violation Petition
 This offlense is brieflv described as follows:

  Count I - Conspiracy to Use, Carry, and Brandish Firearms During and in Relation to a Crime of Violence, 18:924(o); Counts 4,7,70
  and 13 - Aiding and Abetting Carjacking, l8:2 and 2119(l); Counts 5, l l and 19 - Aiding and Abetting Interference with Commerce by
  Robbery, l8:2 and 1951; Count 8 and 14 - Aiding and Abetting Interference with Commerce by Robbery, l8:2 and l95l; Counts 6,9,12,
  15 and 20 - Brandishing a Firearm During and in Relation to a Crime of Violence, l8:92a(c)(l)(A)(ii).




 Date:      04126/2022



 City and      state:          Minneapolis, MN



                                                                           Return

             This warrant was received on            1datel                      , and the person was arrested on   (date)
 at   (cit-v and state)




                     ARRESTED ON
                                                    H/D>L
                     ARRESTED BY




                                                                                                                             JUN 2 3 2|,Z2
